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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,                         )
                                                  )     No. 3:19-CR-00456-BR-1
                      Plaintiff,                  )
                                                  )     PETITION TO ENTER PLEA
      vs.                                         )     OF GUILTY, CERTIFICATE
                                                  )     OF COUNSEL, AND ORDER
KEVIN MARC CROTTEAU,                              )     ENTERING PLEA.
                                                  )
                      Defendant.                  )

         The defendant represents to the court:

         1.    My name is Kevin Marc Crotteau. I am 25 years old. I have been to school

through college and some graduate school.

         2.    My attorneys are Elena Fast and Matthew McHenry.

         3.    My attorney and I have discussed my case fully. I have received a copy of

the Indictment. I have read the Indictment, or it has been read to me, and I have discussed

it with my attorney. My attorney has counseled and advised me concerning the nature of

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each charge, any lesser-included offense(s), and the possible defenses that I might have in

this case. I have been advised and understand that the elements of the charge(s) alleged

against me to which I am pleading GUILTY are as follows: Conspiracy Possess with Intent

to Distribute Controlled Substances, in violation of21 U.S.C. §§ 841 and 846, the elements

of which are set forth in the accompanying Plea Agreement. I have had a full and adequate

opportunity to disclose to my attorney all facts known to me that relate to my case. I

understand that the Court may ask whether I am satisfied with the advice I have received

from my attorney.

        4.    I know that if I plead GUILTY, I will have to answer any questions that the

judge asks me about the offense(s) to which I am pleading guilty. I also know that if I

answer falsely, under oath, and in the presence of my attorney, my answers could be used

against me in a prosecution for pe1jury or false statement.

        5.    I am not under the influence of alcohol or drugs. I am not suffering from any

injury, illness or disability affecting my thinking or my ability to reason. I have not taken

any drugs or medications within the past seven (7) days.

        6.    I understand that conviction of a crime can result in consequences in addition

to imprisonment. Such consequences include depmiation, or removal from the United

States, or denial of naturalization, if I am not a United States citizen; loss of eligibility to

receive federal benefits; loss of ce1iain civil rights (which may be temporary or pennanent

depending on applicable state or federal law), such as the right to vote, to hold public office,




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and to possess a firearm; and loss of the privilege to engage in certain occupations licensed

by the state or federal government.

         7.   I know that I may plead NOT GUILTY to any crime charged against me and

that I may persist in that plea if it has already been made. I know that if I plead NOT

GUILTY the Constitution guarantees me:

              a.    The right to a speedy and public trial by jury, during
              which I will be presumed to be innocent unless and until I am
              proven guilty by the government beyond a reasonable doubt
              and by the unanimous vote of twelve jurors;

              b.     The right to have the assistance of an attorney at all
              stages of the proceedings;

              c.     The right to use the power and process of the court to
              compel the production of evidence, including the attendance of
              witnesses in my favor;

              d.    The right to see, hear, confront, and cross-examine all
              witnesses called to testify against me;

              e.     The right to decide for myself whether to take the
              witness stand and testify, and ifl decide not to take the witness
              stand, I understand that no inference of guilt may be drawn
              from this decision; and

              f.     The right not to be compelled to incriminate myself.

         8.   I know that if I plead GUILTY there will be no trial before either a judge or

a jury, and that I will not be able to appeal from the judge's denial of any pretrial motions

I may have filed concerning matters or issues not related to the court's jurisdiction.

         9.   In this case I am pleading GUILTY under Rule 1 l(c)(l)(B). My attorney has

explained the effect of my plea under Rule 1 l(c)(l)(B) to be as follows:

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      The judge will consider the recommendations and agreements of both the

prosecution and the defense concerning sentencing, but is not obligated to follow those

recommendations or agreements. If the judge imposes a sentence different from what I

expected to receive under my plea agreement, I do not have a right to withdraw my plea.

         10.   I know the maximum sentence which can be imposed upon me for the

crime(s) to which I am pleading guilty is 20 years imprisonment and a fine of

$1,000,000.00.

         11.   I know that the judge, in addition to any other penalty, will order a special

assessment as provided by law in the amount of $100 per count of conviction.

         12.   I know that if I am ordered to pay a fine, and I willfully refuse to pay that

fine, I can be returned to court, where the amount of the unpaid balance owed on the fine

can be substantially increased by the judge and I can be imprisoned for up to one year.

         13.   My attorney has discussed with me the Federal Sentencing Guidelines. I

know that under the Federal Sentencing Guidelines, the sentencing judge will consider the

guideline range, among other factors in determining my sentence.            Although most

sentences will be imposed within the guideline range, I know that there is no guarantee that

my sentence will be within the guideline range. If my attorney or any other person has

calculated a guideline range for me, I know that this is only a prediction and that it is the

judge who makes the final decision as to what the guideline range is and what sentence

will be imposed. I also know that a judge may not impose a sentence greater than the

maximum sentence referred to in paragraph (10) above.

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         14.   I know from discussion with my attorney that, under the Federal Sentencing

Guidelines, if I am sentenced to prison I am not entitled to parole. I will have to serve the

full sentence imposed except for any credit for good behavior that I earn. I can earn credit

for good behavior in prison at a rate of up to 54 days for each year of imprisonment served.

Credit for good behavior does not apply to a sentence of one year or less.

         15.   I know that if I am sentenced to prison, the judge will impose a tenn of

supervised release to follow the prison sentence. During my supervised release term I will

be supervised by a probation officer according to terms and conditions set by the judge. In

my case, a te1m of supervised release can be up to 3 years. If I violate the conditions of

supervised release, I may be sent back to prison for up to 3 years.

         16.   I know that in addition to or in lieu of any other penalty, the judge can order

restitution payments to any victim of any offense to which I plead guilty. I am also

informed that, for certain crimes of violence and crimes involving fraud or deceit, it is

mandatory that the judge impose restitution in the full amount of any financial loss or haim

caused by an offense. If imposed, the victim can use the order of restitution to obtain a

civil judgment lien. A restitution order can be enforced by the United States for up to

twenty (20) years from the date of my release from imprisonment, or, if I am not

imprisoned, twenty (20) years from the date of the entry of judgment. If I willfully refuse

to pay restitution as ordered, a judge may resentence me to any sentence which could

originally have been imposed.




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         17.   On any fine or restitution in an amount of $2,500 or more, I know that I will

be required to pay interest unless that fine or restitution is paid within fifteen ( 15) days

from the date of the entry of judgment.

         18.   IfI am on probation, parole, or supervised release in any other state or federal

case, I know that by pleading guilty in this court my probation, parole or supervised release

may be revoked and I may be required to serve time in that case, which may be consecutive,

that is, in addition to any sentence imposed on me in this court.

         19.   If I have another case pending in any state or federal court, I know that my

Petition and Plea Agreement in this case do not, in the absence of an express and written

agreement, apply to my other case(s), and that I can be faced with consecutive sentences

of imprisonment.

         20.   My plea of GUILTY is based on a Plea Agreement that I have made with

the prosecutor. That Plea Agreement is attached hereto and incorporated herein. I have

read or had read to me the Plea Agreement, and I understand the Plea Agreement.

         21.   No officer or agent of any branch of government (federal, state or local) or

anyone else has promised or suggested that I will receive a lesser term of imprisonment, or

probation, or any other form of leniency if I plead GUILTY except as stated in the Plea

Agreement. I understand that I cannot rely on any promise or suggestion made to me by a

government agent or officer which is not stated in writing in the Plea Agreement or any

other written agreement, or which is not presented to the judge in my presence in open

court at the time of the entry of my plea of guilty.

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         22.   My plea of GUILTY is not the result of force, threat, or intimidation.

        23.    I hereby request that the judge accept my plea of GUILTY to the following

count(s): Count 1: Conspiracy to Possess with Intent to Distribute Controlled Substances.

         24.   I know that the judge must be satisfied that a crime occmTed and that I

committed that crime before my plea of GUILTY can be accepted. With respect to the

charge(s) to which I am pleading guilty, I represent that I did the following acts and that

the following facts are ttue: On or about August 30, 2018, in the District of Oregon, I

knowingly agreed with another person to possess with the intent to distribute MDMA and

ketamine.

         25.   I offer my plea of GUILTY freely and voluntarily and of my own accord and

with a full understanding of the allegations set forth in the Indictment, and with a full

understanding of the statements set forth in this Petition and in the Certificate of my

attorney that is attached to this Petition.

         SIGNED by me in the presence ofmy attorney, after reading (or having had read

to me) all of the foregoing pages and paragraphs of this Petition on this 30th day of July,

2020.


                                              s/ Kevin Crotteau
                                              Kevin Crotteau, Defendant




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                              CERTIFICATE OF COUNSEL

       The undersigned, as attorney for defendant Kevin Crotteau, hereby certifies:

         1.   I have fully explained to the defendant the allegations contained in the

Indictment or Information in this case, any lesser-included offense(s), and the possible

defenses which may apply in this case.

         2.   I have personally examined the attached Petition To Enter Plea of Guilty And

Order Entering Plea, explained all its provisions to the defendant, and discussed fully with

the defendant all matters described and referred to in the Petition.

       3.     I have explained to the defendant the maximum penalty and other

consequences of entering a plea of guilty described in paragraphs (6)-(20) of the Petition,

and I have also explained to the defendant the applicable Federal Sentencing Guidelines.

         4.   I recommend that the Court accept the defendant's plea of GUILTY.

         SIGNED by me in the presence of the above-named defendant, and after full

discussion with the defendant of the contents of the Petition To Enter Plea of Guilty, and

any Plea Agreement, on this 30th day of July, 2020.


                                           sf Elena Fast
                                           ELENA FAST
                                           Attorney for Defendant


                                           sf Matthew McHenry
                                           MATTHEW MCHENRY
                                           Attorney for Defendant




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                               ORDER ENTERING PLEA

      I find that the defendant's plea of GUILTY has been made freely and voluntarily

and not out of ignorance, fear, inadvertence, or coercion. I further find the defendant has

admitted facts that prove each of the necessary elements of the crime(s) to which the

defendant has pled guilty.

      IT IS THEREFORE ORDERED that the defendant's plea of GUILTY be accepted

and entered as requested in this Petition and as recommended in the Certificate of

defendant's attorney.        I', .       1:

                         U-<-j;tlvv""
      DATED this 4th day ofJ~2020, in open court.




                                              United States District Court Judge




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